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 6                              UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA
 8
     KEVIN BRUNSTON,                                         Case No.: 2:21-cv-01947-JAD-NJK
 9
                                   Plaintiff,
10
     vs.
11
     GAUGHAN SOUTH LLC, a domestic                              PLAINTIFF’S MOTION
12   corporation dba SOUTH POINT CASINO;                      TO EXTEND TIME TO FILE
     CHRIS BIANCA, Pit Boss Manager for the                  THE JOINT PRETRIAL ORDER
13   SOUTH POINT company; DOE BUSINESS
     ENTITIES 2 through 10; DOE
14   INDIVIDUALS 2 through 50, inclusive, in
     their individual and official capacities,
15
                                   Defendants.
16
17          COMES NOW Plaintiff, KEVIN BRUNSTON, by and through his counsel, Robert S.
18   Melcic, and files this Motion to Extend Time to File the Pretrial Order. This Reply is brought with
19   the following Memorandum of Points and Authorities, the papers and pleadings on file in this case,
20   and any further briefing or oral argument this Court may wish to entertain.
21
22                       MEMORANDUM OF POINTS AND AUTHORITIES
23                                         I. INTRODUCTION
24          Plaintiff is seeking a fourteen-day (14) day extension of time within which to file the
25
     Joint Pretrial Order.
26
                               II. RELEVANT PROCEDURAL HISTORY
27
            Plaintiff and Defendant were scheduled to file the Joint Pretrial Order on November 30,
28
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 1   2022.
 2                                       III. SUBSEQUENT HISTORY
 3           Plaintiff’s counsel and Defendant’s counsel have not yet had the pretrial conference as
 4   required under FRCP 16(c)(1).
 5                                          IV. LEGAL ANALYSIS
 6           Federal Rule of Civil Procedure 6(b)(1)(A) provides in pertinent part:
 7                  (b) EXTENDING TIME.
 8                      (1) In General. When an act may or must be done within a specified time the
                        court may, for good cause, extend the time:
 9                          (A) with or without motion or notice if the court acts, or if a request is
10                          made, before the original time or its extension expires;

11
     Fed. R. Civ. P. 6(b)(1)(A). Plaintiff contacted Defense counsel seeking a timeline of when he
12
     could have this meeting. Defense counsel was under the impression that this meeting had already
13
     occurred. However, it has not and there have been no agreements yet made as to the contents of
14
     the Joint Pretrial Order. In order to give the parties sufficient time to meet and confer, Plaintiff is
15
     seeking a two-week extension of time to file the Order.
16
             While Plaintiff intends for this to be finished with all haste, Plaintiff cannot be sure of
17
     Defendant’s current availability at the time of filing this motion. Therefore, Plaintiff seeks an
18
     extension of time to December 14, 2022 to file the Joint Pretrial Order.
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 1                                            V. CONCLUSION
 2           Based on the foregoing, Plaintiff respectfully requests the Court to grant an extension of
 3   time to file the Joint Pretrial Order.
 4
 5   Dated this 30th day of November, 2022.               Respectfully submitted,
 6                                                        /s/ Robert S. Melcic
 7                                                        ROBERT S. MELCIC, ESQ.
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 8                                                        3315 E. Russell Rd.
                                                          Ste. A4-271
 9                                                        Las Vegas, NV 89120
10                                                        Phone: (725) 577-8013
                                                          Email: robertmelcic@gmail.com
11                                                        Attorney for Kevin Brunston

12
13
14
15
      This stipulation is GRANTED, but no further extensions will be allowed.
16    IT IS SO ORDERED.
17    Dated: December 2, 2022
      .
18    .
19    ______________________________
      Nancy J. Koppe
20    United States Magistrate Judge
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28
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